      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 1 of 8 PageID: 1



 1   Kimmel & Silverman, P.C.
     1930 East Marlton Pike, Suite Q29
 2   Cherry Hill, New Jersey 08003
     Telephone: 856-429-8334
 3
     Attorney of Record: Amy Bennecoff (AB0891)
 4
     Attorney for Plaintiff

 5
                           IN THE UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEW JERSEY

 7   MUNDELL MCCLELLAN,                           )
                                                  )
 8                 Plaintiffs                     )
                                                  )   Case No.:
 9          v.                                    )
                                                  )   COMPLAINT AND DEMAND FOR
10
     GC SERVICES, LP,                             )   JURY TRIAL
                                                  )
11
                   Defendant                      )   (Unlawful Debt Collection Practices)
12
                                            COMPLAINT
13
            MUNDELL MCCLELLAN (“Plaintiff”), by and through his attorneys, KIMMEL &
14
     SILVERMAN, P.C., allege the following against GC SERVICES, LP (“Defendant”):
15

16

17
                                          INTRODUCTION

18          1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

19   U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone Consumer Protection Act, 47 U.S.C. §227

20   et seq. (“TCPA”).

21

22
                                    JURISDICTION AND VENUE
23
            2.     Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
24
     that such actions may be brought and heard before “any appropriate United States district court
25



                                                   -1-

                                       PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 2 of 8 PageID: 2



 1   without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
 2   jurisdiction of all civil actions arising under the laws of the United States.
 3
                3.   Defendant conducts business in the State of New Jersey; therefore, personal
 4
     jurisdiction is established.
 5
                4.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 6

 7
                                                  PARTIES
 8
                5.   Plaintiff is a natural persons residing in Wenonah, New Jersey.
 9
                6.   Defendant is a national debt collection company with its corporate headquarters
10

11   located at 6330 Gulfton Drive, Houston, Texas 77081.

12              7.   Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3), or in

13   the alternative is a non-debtor granted a cause of action under the FDCPA. See Bodur v.

14   Palisades Collection, LLC, 2011 WL 6306725, at 8-9 (S.D.N.Y. 2011) (FDCPA protects non-
15   debtors subject to errant collection efforts and “[t]o hold otherwise would run contrary to the
16
     purpose of the FDCPA to ‘also protect [] people who do not owe money at all’ since collection
17
     efforts are often aimed at the wrong person either because of mistaken identity or mistaken
18
     facts.”)
19
                8.   Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),
20
     and repeatedly contacted Plaintiffs in an attempt to collect a debt.
21
                9.   Defendant acted through its agents, employees, officers, members, directors,
22

23
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

24

25



                                                      -2-

                                          PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 3 of 8 PageID: 3



 1

 2                                       FACTUAL ALLEGATIONS
 3
             10.     At all relevant times, Defendant contacted Plaintiff in its attempts to collect an
 4
     alleged consumer debt
 5
             11.     Upon information and belief, the alleged debt at issue arose out of transactions,
 6
     which were primarily for personal, family, or household purposes.
 7
             12.     Between April 2012 and January 2013, Defendant’s collectors contacted Plaintiff
 8
     on his home and cellular telephones on a continuous and repetitive basis.
 9
             13.     During this time, Defendant placed calls to Plaintiff multiple times per day,
10

11   sometimes calling him more than four (4) times a day.

12           14.     As a result, Plaintiff received more than ten (10) collection calls a week to his

13   home and cellular telephones.

14           15.     When placing these calls, upon information and belief, Defendant used automated
15   dialer or pre-recorded or artificial voice to initiate these calls to Plaintiff.
16
             16.     Plaintiff did not expressly consent to Defendant’s placement of telephone calls to
17
     his telephone by the use of an automated dialer or pre-recorded or artificial voice prior to
18
     Defendant’s placement of the calls.
19
             17.     Defendant did not consult with its client at any time before making calls to
20
     Plaintiff to determine if there was express consent to call his telephone.
21
             18.     Defendant’s telephone calls were not placed for “emergency purposes,” as
22

23
     specified in 47 U.S.C. §227(b)(1)(A).

24           19.     Further, Plaintiff never received anything in writing from Defendant setting forth

25   his rights to dispute the debt and/or request verification of the debt, as well as to request the


                                                        -3-

                                           PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 4 of 8 PageID: 4



 1   original name and address of the creditor.
 2          20.     As a result, Plaintiff does not possess any information about the debt Defendant
 3
     was seeking to collect, including the amount of the debt.
 4
            21.     Defendant’s actions as described herein were made with the intent to harass,
 5
     abuse, and coerce payment from Plaintiff.
 6
            22.     Defendant’s continuous and repeated calls to Plaintiff were made with the
 7
     intention of annoying, abusing, harassing, and coercing Plaintiff to pay the debt.
 8

 9
                                          COUNT I
10
                             DEFENDANT VIOLATED § 1692d OF THE
11                          FAIR DEBT COLLECTION PRACTICES ACT

12           23.    Section 1692d of the FDCPA prohibits debt collectors from engaging in any

13   conduct the natural consequence of which is to harass, oppress or abuse any person, in

14   connection with the collection of a debt.
15           24.    Defendant violated § 1692d of the FDCPA when it called Plaintiff repeatedly and
16
     continuously, and when it engaged in other harassing or abusive conduct.
17

18
                                         COUNT II
19                           DEFENDANT VIOLATED § 1692d(5) OF THE
                            FAIR DEBT COLLECTION PRACTICES ACT
20
            25.     Section 1692d(5) of the FDCPA prohibits debt collectors from causing a
21
     telephone to ring or engaging any person in telephone conversation repeatedly or continuously
22

23
     with the intent to annoy, abuse or harass any person at the called number.

24          26.     Defendant violated § 1692d(5) of the FDCPA when it caused Plaintiff’s telephone

25   to ring repeatedly and continuously with the intent to harass or annoy Plaintiff.


                                                     -4-

                                         PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 5 of 8 PageID: 5



 1

 2                                       COUNT III
                             DEFENDANT VIOLATED § 1692f OF THE
 3
                            FAIR DEBT COLLECTION PRACTICES ACT
 4
            27.     Section 1692f of the FDCPA prohibits debt collectors from using unfair or
 5
     unconscionable means to collect or attempt to collect an alleged debt.
 6
            28.     Defendant violated § 1692f of the FDCPA when it called Plaintiff repeatedly and
 7
     continuously, when it failed to send anything in writing to Plaintiff setting forth his rights, and
 8
     when it engaged in other unfair conduct.
 9

10

11                                      COUNT IV
                           DEFENDANTS VIOLATED § 1692g(a) OF THE
12                         FAIR DEBT COLLECTION PRACTICES ACT

13          29.     Section 1692g(a) of the FDCPA states that within five days after the initial

14   communication with a consumer in connection with the collection of a debt, a debt collector shall
15   send the consumer a written notice containing the amount of the debt, the name of the creditor to
16
     whom the debt is owed, the manner in which to dispute the debt, and that if the debt is disputed,
17
     that the debt collector will obtain verification of the debt, and will provide information to
18
     Plaintiff on how to dispute the debt.
19
            30.     Defendants violated § 1692g(a) of the FDCPA by failing to provide any written
20
     notification or any information in writing to Plaintiff in regards to the alleged debt within five
21
     days of its initial contact with the Plaintiff, including how to dispute the debt or obtain
22

23
     verification of the debt, in violation of the FDCPA.

24

25



                                                    -5-

                                         PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 6 of 8 PageID: 6



 1                               COUNT V
        DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT
 2
            31.      Section 227(b)(3)(A) of the TCPA authorizes a private cause of action for a
 3

 4
     person or entity to bring in an appropriate court of that state “an action based on a violation of

 5   this subsection or the regulations prescribed under this subsection to enjoin such violation.”

 6          32.      Section 227(b)(3)(B), of the Act authorizes a private cause of action for a person

 7   or entity to bring in an appropriate court of that state “an action to recover for actual monetary

 8   loss from such a violation, or to receive $500 in damages for each such violation, whichever is
 9
     greater.”
10
            33.      Defendant repeatedly placed non-emergency calls to Plaintiff without Plaintiff’s
11
     consent.
12
            34.      The Act also authorizes the Court, in its discretion, to award up to three (3) times
13
     the actual damages sustained for violations.
14
            35.      Here, Defendant repeatedly and regularly placed non-emergency, automated calls
15
     to Plaintiff using a pre-recorded or artificial voice.
16

17          36.      Defendant called Plaintiff dozens of times.

18          37.      Defendant did not have Plaintiff’s express consent prior to contacting him using

19   an automatic telephone dialing system or pre-recorded or artificial voice.

20          38.      Defendant’s conduct violated §227(b)(1)(A)(iii) of the TCPA by making any call
21   using any automatic telephone dialing system or an artificial prerecorded voice to a telephone
22
     number assigned to a cellular telephone service.
23
            39.      Defendant’s conduct violated §227(b)(1)(B) of the TCPA by making any call
24
     using any automatic telephone dialing system or an artificial prerecorded voice to a telephone
25
     number assigned to a home telephone service.

                                                       -6-

                                          PLAINTIFF’S COMPLAINT
      Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 7 of 8 PageID: 7



 1

 2           WHEREFORE, Plaintiff, MUNDELL MCCLELLAN, respectfully prays for a judgment
 3
     as follows:
 4
                      a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
 5
                      b. Statutory damages of $1,000.00 for the violation of the FDCPA pursuant to
 6
                           15 U.S.C. § 1692k(a)(2)(A);
 7
                      c. Statutory damages of $500.00 for each violation of the TCPA, pursuant to 47
 8
                           U.S.C. §227(c)(5)(B); and
 9
                      d. All reasonable attorneys’ fees, witness fees, court costs and other litigation
10
                           costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3);
11
                      e. Any other relief deemed appropriate by this Honorable Court.
12

13
                                       DEMAND FOR JURY TRIAL
14
             PLEASE TAKE NOTICE that Plaintiff, MUNDELL MCCLELLAN, demands a jury
15
     trial in this case.
16
                             CERTIFICATION PURSUANT TO L.CIV.R.11.2
17
             I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is not
18

19   subject to any other action pending in any court, arbitration or administrative proceeding.

20

21

22

23

24

25



                                                       -7-

                                           PLAINTIFF’S COMPLAINT
     Case 1:13-cv-02779-JHR-KMW Document 1 Filed 04/30/13 Page 8 of 8 PageID: 8



 1

 2                                     RESPECTFULLY SUBMITTED,
 3
     DATED: 04/30/13                   KIMMEL & SILVERMAN, P.C.
 4
                                      By: /s/ Amy L. Bennecoff
 5
                                          Amy L. Bennecoff
                                          Executive Quarters
 6                                        1930 E. Marlton Pike, Suite Q29
                                          Cherry Hill, NJ 08803
 7                                        Phone: (856) 429-8334
                                          Fax: (856) 216-7344
 8                                        Email: abennecoff@creditlaw.com

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                        -8-

                               PLAINTIFF’S COMPLAINT
